  Fill in this Case   3:14-bk-34258
               information to identify the case:Doc      31     Filed 12/01/15 Entered 12/01/15 20:15:31                                Desc Main
                                                                Document     Page 1 of 9
  Debtor 1                 Homer Sawyer
  Debtor 2                 Ladonna Lynn Sawyer
  (Spouse, if filing)
  United States Bankruptcy Court for the: Southern District of Ohio (Dayton)
  Case number              14-34258

Official Form 410S1
Notice of Mortgage Payment Change
If the debtor¶s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor¶s principal residence,
you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days
before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of Creditor: BANK OF AMERICA, N.A.                                                Court claim no. (if known):           2
 Last 4 digits of any number you use to identify                                        Date of payment change:
 the debtor's account:      8130                                                        Must be at least 21 days after date of this notice       01/01/2016
                                                                                        New total payment:
                                                                                                                                                 $863.57
                                                                                        Principal, interest, and escrow, if any




Part 1: Escrow Account Payment Adjustment
   1. Will there be a change in the debtor's escrow account payment?
          No
            Yes         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                        Describe the basis for the change. If a statement is not attached, explain why:



                                Current escrow payment:         $296.35                         New escrow payment:               $321.26

Part 2: Mortgage Payment Adjustment
   2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
   rate note?
           No
             Yes        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                        If a notice is not attached, explain why:



             Current interest rate:                                                          New interest rate:
             Current principal and interest payment:                                         New principal and interest payment:

Part 3:         Other Payment Change
   3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
             No
             Yes        Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                        modification agreement. (Court approval may be required before the payment change can take effect.)
   Reason for change:


             Current mortgage payment:                                                 New mortgage payment:




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         Case
Part 4: Sign   3:14-bk-34258
             Here                         Doc 31       Filed 12/01/15 Entered 12/01/15 20:15:31                        Desc Main
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The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box:
     I am the creditor.

     I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
and reasonable belief.
      /s/ Marlene Brookman                                                 Date 12/01/2015
      Assistant Vice President


Print: Marlene Brookman                                                    Title Assistant Vice President

Company     Bank of America, N.A.                                               Specific Contact Information:
Address     2380 Performance Dr.                                                Phone: 214-209-8355
            Richardson, TX 75082                                                Email: marlene.brookman@bankofamerica.com




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                             UNITED STATES   BANKRUPTCY
                                       Document Page 3 of 9 COURT
                                                        Southern District of Ohio (Dayton)
                                                                          Chapter 13 No. 14-34258
 In re:                                                                   Judge: Lawrence S. Walter
 Homer Sawyer and Ladonna Lynn Sawyer
                                                  Debtor(s).

                                                   CERTIFICATE OF SERVICE
 I hereby certify that on December 01, 2015, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage prepaid,
 or via filing with the US Bankruptcy Court's CM ECF system.
 By U.S. Postal Service First Class Mail Postage Prepaid:

 Debtor:                   Homer Sawyer
                           Ladonna Lynn Sawyer
                           270 Joanna Ave
                           Brookville, OH 45309


 Debtor's Attorney:        Thomas D Berry
                           4630 Salem Avenue
                           Dayton, OH 45416



 Trustee:                  Jeffrey M Kellner
                           131 N Ludlow St
                           Suite 900
                           Dayton, OH 45402


                                                                          /s/ Frances Bell
                                                                          4 S Technologies, LLC
                                                                          (as authorized agent for Bank of America, N.A.)
                                                                          200 Sheffield St., Suite 101
                                                                          Mountainside, NJ 07092
                                                                          (908) 588-9650
                                                                          franbell@4stechnologies.com




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